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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

KEITH HENDERSON,

       Plaintiff,

v.                                                                   CV No. 20-1065 KG/CG

STATE OF NEW MEXICO,

       Defendant.

                             ORDER TO CURE DEFICIENCIES

       THIS MATTER is before the Court on Plaintiff’s handwritten letter, which

references due process and the Eight Amendment to the U.S. Constitution. (Doc. 1). It

appears Plaintiff, who is currently in the custody of the Northwest New Mexico

Correctional Center, is attempting to assert claims under 42 U.S.C. § 1983. Id. at 4-6.

       The Court finds Plaintiff’s filing is deficient for two reasons. First, Plaintiff’s filing is

not in proper form or signed under penalty of perjury by Plaintiff, as required by Fed. R.

Civ. P. 11(a). Second, Plaintiff failed to prepay the $400 filing fee, or alternatively, file an

Application to Proceed in District Court Without Prepaying Fees or Costs with a six-

month account statement. See 28 U.S.C. §§ 1914 and 1915(a). Plaintiff must cure these

deficiencies if he wishes to pursue his claims. Plaintiff must prepay the $400 filing fee,

or alternatively, file an Application to Proceed in District Court Without Prepaying Fees

or Costs along with a six-month account statement. Plaintiff must also refile an

individual complaint on the proper § 1983 form. These deficiencies must be cured within

thirty (30) days of entry of this Order. Plaintiff must include the civil action number (CV

20-1065 KG/CG) on all papers he files in this proceeding. If Plaintiff fails to cure these

deficiencies within thirty (30) days, the Court may dismiss this proceeding without
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further notice.

       IT IS THEREFORE ORDERED that by November 20, 2020, Plaintiff shall: (1)

refile his claims on the proper § 1983 form; and (2) either prepay the $400 filing fee or

submit an Application to Proceed in District Court Without Prepaying Fees or Costs

along with a certified copy of Plaintiff’s inmate account statement for the six-month

period immediately preceding this filing.

       IT IS FURTHER ORDERED that the Clerk shall mail to Plaintiff a copy of this

Order, two (2) copies of a form § 1983 complaint, and two (2) copies of an Application to

Proceed in District Court Without Prepaying Fees or Costs with instructions.

       IT IS SO ORDERED.



                                   ______________________________
                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




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